                               NO. 07-11-0094-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
                                 APRIL 8, 2011
                         _____________________________
                                       
                       In re CHARLES ANTHONY ALLEN, SR.
                                       
                         _____________________________
                                       
                              Order of Dismissal
                         _____________________________
                                       

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
	Charles Anthony Allen, Sr. filed a notice of apeal initiating this appeal.  However, the document failed to disclose the trial court order or judgment from which appeal was perfected.  As a result of this defect, we directed him to proffer an amended notice comporting with the Texas Rules of Appellate Procedure.  Allen complied and in doing so revealed his intent to appeal from an order of this court denying a previously filed petition for mandamus.  Thus, there is no order or judgment issued by either a county, district, or any other trial court subject to review.  This is fatal to the proceeding since we have jurisdiction only from final orders of a district or county court.  Tejas Elevator Co. v. Concord Elevator, Inc., 982 S.W.2d 578, 579 (Tex. App. - Dallas 1998, no pet.) (stating that to invoke the jurisdiction of the appellate court, the appellant must obtain a final, appealable order or judgment from the county or district court).  Consequently, the appeal is dismissed for want of jurisdiction.  Should Allen care to question our decision regarding his prior application for mandamus relief, the appropriate forum to do so is the Texas Supreme Court, not this court.

						Per Curiam
	

